                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 APRIL TAYLOR, on behalf of herself and
 all other affected persons,

        Plaintiff,
                                                         Case No.
 v.

 BARRETT FIREARMS                                        JURY DEMAND
 MANUFACTURING, INC.,

        Defendant.                                       CLASS ACTION


                               CLASS ACTION COMPLAINT

       Plaintiff April Taylor (“Ms. Taylor”), on behalf of herself and all affected persons, brings

this Class Action Complaint (“Complaint”) under the Tennessee Human Rights Act (“THRA”),

Tenn. Code Ann. § 4-21-301, against her former employer, Barrett Firearms Manufacturing, Inc.

(“Barrett Firearms”), for gender discrimination. Barrett Firearms has failed to recruit women for

salesperson roles, has failed to consider hiring women who applied to work as salespeople, and

has deterred women applicants from applying to work as salespeople with its well-known policy

of refusing to hire women as salespeople. Ms. Taylor also brings this action against Barrett

Firearms for retaliating against her for complaining about gender discrimination, pregnancy

discrimination, and unequal pay in violation of the Equal Pay Act of 1963 (“EPA”), Title VII of

the Civil Rights Act of 1964 (“Title VII”), and the THRA. In support of her Complaint, Plaintiff

states as follows:

                                      INTRODUCTION

       1.      Ms. Taylor files this class action to remedy violations of the THRA. This action

seeks to recover all damages due to Ms. Taylor and all other class members for gender



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discrimination. The proposed class consists of women whose applications to work for Barrett

Firearms as salespeople were rejected at any time since May 9, 2021, and women who were

deterred from applying to work as salespeople for Barrett Firearms since May 9, 2021, by its well-

known policy of refusing to hire women as salespeople.

       2.      Ms. Taylor also brings this action to remedy the unlawful retaliation she suffered

while working for Barrett Firearms.

       3.      Ms. Taylor engaged in a variety of activities protected by the EPA, Title VII, and

the THRA, including but not limited to: complaining internally about gender discrimination and

pregnancy discrimination for disparate treatment related to bonus payments; filing a charge of

discrimination in July 2021 with the U.S. Equal Employment Opportunity Commission (“EEOC”)

alleging gender and pregnancy discrimination; negotiating a release of her gender- and pregnancy-

discrimination claims in exchange for a payment from Barrett Firearms in July 2021; complaining

internally about unequal pay for men and women at Barrett Firearms between approximately

August 2021 and December 2021; attempting to apply for an open salesperson role; and

complaining about Barrett Firearms’ policy of not hiring women as salespeople (collectively,

“Protected Activities”).

       4.      After Ms. Taylor engaged in her Protected Activities, Barrett Firearms retaliated

against her for those Protected Activities in multiple ways, including but not limited to ostracizing

Ms. Taylor at work; reassigning her job duties to other Barrett Firearms employees; terminating

Ms. Taylor’s employment for a pretextual reason in approximately February 2022; and accusing

Ms. Taylor of theft from Barrett Firearms.




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                                     JURISDICTION AND VENUE

        5.          This Court has subject-matter jurisdiction. Ms. Taylor’s claims either arise under

federal statutes, 28 U.S.C. § 1331, or are “so related to [the federal] claims . . . that they form part

of the same case or controversy under Article III of the United States Constitution,” id. § 1367(a).

        6.          Barrett Firearms is subject to personal jurisdiction in this Court because it is

headquartered in Christiana, Tennessee, a town in Rutherford County.

        7.          Ms. Taylor has satisfied all jurisdictional prerequisites to bringing her retaliation

claims under Title VII. Specifically, Ms. Taylor timely filed a charge of discrimination with the

EEOC regarding her retaliation claims.

        8.          EEOC issued Ms. Taylor a right-to-sue letter on February 17, 2022, less than 90

days prior to Ms. Taylor initiating this action.

        9.          Ms. Taylor reserves the right to amend this Complaint to assert her class claims for

gender discrimination under Title VII. She timely filed a charge of discrimination with the EEOC

regarding that claim. Once the EEOC issues a right-to-sue letter, Ms. Taylor will timely amend

this Complaint to include her claims under Title VII.

        10.         Venue is proper in this Court under 28 U.S.C. § 1391(b). A substantial part of the

events giving rise to this action occurred within this District, and Barrett Firearms does business

in this District.

                                                 PARTIES

        11.         Ms. Taylor is an individual; she resides in Rutherford County, Tennessee.

        12.         Barrett Firearms is a Tennessee domestic corporation, licensed to do business in

this State.




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        13.    Barrett Firearms’ registered agent for service of process in Tennessee is Ronnie G.

Barrett, 5926 Miller Lane, Christiana, TN 37037.

        14.    At all relevant times, Ms. Taylor was an employee of Barrett Firearms under the

EPA.

        15.    At all relevant times, Barrett Firearms was Ms. Taylor’s employer under the EPA.

        16.    At all relevant times, Ms. Taylor was an employee of Barrett Firearms under Title

VII.

        17.    At all relevant times, Barrett Firearms was Ms. Taylor’s employer under Title VII.

        18.    At all relevant times, Ms. Taylor was an employee of Barrett Firearms under the

THRA.

        19.    At all relevant times, Barrett was Ms. Taylor’s employer under the THRA.

                                             FACTS

        20.    Ms. Taylor began working for Barrett Firearms in approximately March 2018.

        21.    Ms. Taylor’s last role was Export/Import Specialist, and she began working in that

position in approximately January 2019.

                                           Retaliation

        22.    During the spring of 2021, Ms. Taylor was pregnant and on maternity leave.

        23.    Because Ms. Taylor was on maternity leave, Barrett Firearms attempted to deny

her the full bonus payment she was due.

        24.    Ms. Taylor complained internally at Barrett Firearms that the failure to pay her full

bonus was gender and pregnancy discrimination, because men working at Barrett Firearms who

had been on leave for reasons other than maternity had received their full bonuses in the past.




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       25.     Barrett Firearms did nothing to remedy the discriminatory treatment, despite Ms.

Taylor’s internal complaints.

       26.     Ms. Taylor then filed a charge of discrimination with the EEOC in approximately

July 2021, alleging gender and pregnancy discrimination.

       27.     Barrett Firearms offered Ms. Taylor a settlement payment if she would withdraw

her EEOC charge and sign a release of all her claims prior to the effective date of the release.

       28.     Ms. Taylor accepted the settlement payment and withdrew her first EEOC charge

in approximately July 2021.

       29.     After Ms. Taylor filed her EEOC charge, Barrett Firearms management employees

began to treat Ms. Taylor differently.

       30.     Barrett Firearms management employees ostracized Ms. Taylor from internal social

interactions because of her first EEOC charge.

       31.     Barrett management employees began reassigning Ms. Taylor’s job duties to other

employees, making Ms. Taylor feel as if she was being targeted for termination.

       32.     In August 2021, Ms. Taylor orally complained to a Barrett Firearms management

employee, Denita Albert-Wade (“Albert-Wade”), about a lack of pay equity between men and

women at Barrett Firearms, because Barrett Firearms hired a male employee at a $50,000 salary

with bonuses and two weeks’ paid time off for the holidays while Ms. Taylor made $24 per hour

and did not receive the same paid days off as the male employee.

       33.     Over several conversations in August 2021, Barrett Firearms, through Albert-

Wade, refused to correct the pay inequities that Ms. Taylor identified, instead proposing that

Ms. Taylor develop a new job title on her own if she wanted to work in a salaried position.




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       34.     Ms. Taylor submitted a written complaint about the lack of pay equity at Barrett

Firearms on approximately December 21, 2021.

       35.     Barrett Firearms management employee Mitch Hulsey (“Hulsey”) responded to

Ms. Taylor’s complaint on approximately January 11, 2022.

       36.     Hulsey refused to correct the lack of pay equity, claiming that the male employee’s

job title including working with multiple departments.

       37.     When Ms. Taylor pointed out that job titles alone do not determine wage

differences under the EPA, Hulsey did not respond.

       38.     As an Export/Import Specialist at Barrett Firearms, Ms. Taylor’s duties included

preparing documents for shipments and shipping Barrett Firearms products both internationally

and domestically.

       39.     Ms. Taylor had access to Barrett Firearms’ FedEx shipping account as part of her

job duties.

       40.     Barrett Firearms does not maintain any written policies about the use of the

company FedEx account.

       41.     Ms. Taylor had previously heard two Barrett Firearms management employees,

Comptroller Jim Flowers and Shipping Manager Shane Fitzgerald (“Fitzgerald”), discussing using

the Barrett Firearms FedEx account to ship personal items and then repaying the company for the

use of the account, thereby benefitting from the discount in shipping costs.

       42.     In approximately late January 2022, Ms. Taylor used the Barrett Firearms’ FedEx

account to send a personal package; the total cost was approximately $70.

       43.     Ms. Taylor had intended to pay for the package at FedEx using her own funds but

was informed by the FedEx employee that to use the account (and receive the discount) she needed




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to charge the shipping to the account, so she decided to charge it to the account and repay the

company on Monday.

       44.     The Monday following Ms. Taylor’s use of the company FedEx account, she

contacted Fitzgerald to inform him that she used the FedEx account and asked him how she could

repay Barrett Firearms for the cost.

       45.     Fitzgerald claimed that Ms. Taylor needed a manager’s approval before sending the

package using the company FedEx account.

       46.     No one from Barrett Firearms had ever informed Ms. Taylor of such a policy.

       47.     Ms. Taylor informed Fitzgerald that she was unaware of such a policy.

       48.     Either the same day or the next day, Ms. Taylor emailed another Barrett Firearms

comptroller, Tina Dial (“Dial”), explaining that she had used the company FedEx account and

needed to pay the company back.

       49.     Dial informed Ms. Taylor that she could pay cash to the company or have the money

withheld from a paycheck.

       50.     Dial did not say anything about Ms. Taylor violating company policy when Dial

informed Ms. Taylor of how she could repay the company.

       51.     On approximately February 2, 2022, Barrett Firearms management employees,

including but not limited to Hulsey and Joel Miller (“Miller”), called Ms. Taylor into a meeting

and terminated her employment.

       52.     Despite Ms. Taylor explaining that she understood it was permissible for Barrett

Firearms employees to use the company FedEx account because of the prior conversation between

two management employees about it and the lack of any written policies related to its use, Barrett

Firearms insisted on terminating Ms. Taylor for violating a company policy.




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        53.     At no point during the February 2 meeting or at any other time during Ms. Taylor’s

employment did anyone at Barrett Firearms accuse her of theft.

        54.     The alleged violation of company policy that Barrett Firearms cited to terminate

Ms. Taylor’s employment was a pretext for unlawful retaliation, because the stated reason for

Barrett Firearms’ action did not actually motivate Barrett Firearms and/or the stated reason was

insufficient to justify a termination.

        55.     After Barrett Firearms terminated Ms. Taylor, she filed a second EEOC charge in

February 2022.

        56.     The EEOC issued Ms. Taylor a right-to-sue letter on her second EEOC charge on

approximately February 17, 2022.

        57.     Barrett Firearms further retaliated against Ms. Taylor by belatedly and falsely

accusing her of theft during an unemployment appeal hearing in April 2022.

                                   Class Gender Discrimination

        58.     Throughout Ms. Taylor’s employment, she heard Barrett Firearms sales and

management employees state that Barrett Firearms would never hire a woman as a salesperson.

        59.     The reason articulated for Barrett Firearms’ policy is that Ronnie G. Barrett, the

company’s owner, does not believe that salesperson roles are appropriate for women.

        60.     In addition to not hiring women as salespeople, Barrett Firearms does not consider

applications from women who apply for salesperson roles.

        61.     In addition to not hiring women as salespeople and refusing to consider applications

from women who apply for salesperson roles, Barrett Firearms deters women applicants through

its well-known policy of not hiring women as salespeople.

        62.     Ms. Taylor was and is qualified to work as a salesperson for Barrett Firearms.




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         63.   In approximately October 2021, a male salesperson named Jordan Progar

(“Progar”) left Barrett Firearms.

         64.   Other employees began discussing in the fall of 2021 whether any of the women at

Barrett Firearms might be hired to replace Progar.

         65.   Progar told Ms. Taylor and another woman who works for Barrett Firearms that the

company hiring a woman as a salesperson “would never happen” because the owner “doesn’t

believe women are salesmen.”

         66.   A Barrett Firearms sales manager named Cooper Thompson was present for the

conversation and confirmed to Ms. Taylor that Progar was correct and that Barrett Firearms would

never hire a woman as a salesperson.

         67.   Barrett Firearms decided to fill the open salesperson position that Progar left in

approximately December 2021.

         68.   Ms. Taylor spoke to her supervisor, Albert-Wade, in approximately December

2021 about her desire to apply for and to be hired as a Barrett Firearms salesperson.

         69.   Albert-Wade said that she would check with Barrett Firearms’ head of sales, Miller,

about Ms. Taylor’s inquiry.

         70.   After checking with Miller, Albert-Wade confirmed to Ms. Taylor that Barrett

Firearms would never hire a woman as a salesperson, telling Ms. Taylor, “That’s just who we work

for.”

         71.   Ms. Taylor also discussed wanting to work as a Barrett Firearms salesperson

directly with Miller, the management employee in charge of hiring Progar’s replacement.




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       72.     When Ms. Taylor brought up to Miller multiple times in approximately December

2021 and after the topic of Barrett Firearms not hiring women in salesperson roles, Miller would

shrug his shoulders.

       73.     Miller did not deny the existence of Barrett Firearms’ no-women-as-salespeople

policy or that the Ronnie G. Barrett is directly responsible for that policy.

       74.     Ms. Taylor complained to Barrett Firearms’ management about the company’s

failure to consider her for a salesperson position and failure to hire her for the same role.

       75.     But for Ms. Taylor’s understanding of Barrett Firearms’ no-women-as-salespeople

policy, Ms. Taylor would have formally applied for a salesperson role at Barrett Firearms.

       76.     Because of Barrett’s illegal, no-women-as-salespeople policy, Barrett Firearms

would not have hired Ms. Taylor because of her gender if she had applied for the job.

       77.     No bona fide occupational qualification exists which prevents Barrett Firearms

from hiring women as salespeople.

       78.     Barrett Firearms failed to recruit Ms. Taylor as a salesperson because of her gender.

       79.     Barrett Firearms failed to consider Ms. Taylor as an applicant for a salesperson role

because of her gender.

       80.     The knowledge that Barrett Firearms would not hire women as salespeople based

on its blanket policy deterred Ms. Taylor from completing a formal application for a salesperson

role because of her gender.

       81.     Barrett Firearms similarly deterred at least one other current Barrett Firearms

employee from applying for a salesperson role because of her gender.




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       82.      The knowledge that Barrett Firearms would not hire any women as salespeople

based on its blanket policy deterred other women from applying for salesperson roles because of

their gender.

                               CLASS ACTION ALLEGATIONS

       83.      Ms. Taylor seeks class certification on Count I under Rule 23 of the Federal Rules

of Civil Procedure on behalf of herself and the following class: Women whose applications to

work for Barrett Firearms as salespeople were rejected at any time since May 9, 2021, and

women who were deterred from applying to work as salespeople for Barrett Firearms since

May 9, 2021, by its well-known policy of refusing to hire women as salespeople (“Putative

Class”).

       84.      The Putative Class has numerous members.

       85.      The Putative Class is so numerous that joinder of all members is not practical.

       86.      There are questions of law or fact common to the Putative Class, including

(1) whether Barrett Firearms discriminated against them based on their gender; (2) whether Barrett

Firearms is liable for the gender discrimination; and (3) the proper measure of damages for

actionable gender discrimination.

       87.      Ms. Taylor’s gender-discrimination claims against Barrett Firearms are typical of

those of the Putative Class; they arise out of the same unlawful policy.

       88.      Barrett Firearms’ defenses to Ms. Taylor’s gender-discrimination claims are typical

of its defenses to those of the Putative Class; they arise out of the same unlawful policy.

       89.      Ms. Taylor can fairly and adequately protect the interests of the Putative Class; she

is asserting the same claims as the Putative Class.

       90.      Ms. Taylor can fairly and adequately protect the interests of the Putative Applicant




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Class; she has no interests adverse to the Putative Class.

        91.    Ms. Taylor can fairly and adequately protect the interests of the Putative Class; she

has retained counsel experienced in class-action employment litigation.

        92.    The common questions of law and fact predominate over the variations which may

exist between members of the Putative Class, if any.

        93.    Ms. Taylor, the members of the Putative Class, and Barrett Firearms all have a

commonality of interest in the subject matter and remedy sought, namely compensatory damages,

punitive damages, back pay, front pay, interest, costs, and attorneys’ fees.

        94.    If each Putative Class member injured or affected had to file her own lawsuit, it

would necessarily result in a multiplicity of lawsuits, creating a hardship to the individuals, to this

Court, and to Barrett Firearms.

        95.    A class action accordingly is an appropriate method for the fair and efficient

adjudication of this lawsuit and distribution of the common fund to which the Putative Class is

entitled.

        96.    Injunctive relief is appropriate to remedy Barrett Firearms’ unlawful

discrimination.

                                         COUNT I
                        Class Gender Discrimination for Putative Class
                          Tenn. Code Ann. § 4-21-311(a), -401(a)(1)

        97.    Ms. Taylor incorporates by reference all prior allegations in this Complaint.

        98.    Ms. Taylor and the Putative Class members are women; at all relevant times, they

were and are members of a protected class.

        99.    Ms. Taylor and the Putative Class members were qualified to work for Barrett

Firearms as salespeople.




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        100.    Barrett Firearms failed to hire, or consider for hire, Ms. Taylor and the Putative

Class members because of their gender.

        101.    Barrett Firearms deterred women like Ms. Taylor and the Putative Class members

from applying for work as salespeople because of their gender.

        102.    Barrett Firearms failed to recruit women applicants for salesperson roles because

of their gender.

        103.    Ms. Taylor and the Putative Class members would have applied to work as

salespeople for Barrett Firearms if not for Barrett Firearms’ unlawful policy.

        104.    Women interested in a salesperson role would have applied had Barrett Firearms

recruited qualified women applicants for its sales positions.

        105.    Had Ms. Taylor and the Putative Class members applied to work for Barrett as

salespeople, Barrett Firearms would have rejected them because of their policy of refusing to hire

women as salespeople.

        106.    There is a causal connection between Ms. Taylor’s and the Putative Class members’

gender and Barrett Firearms’ failure to hire them or to consider them for hire.

        107.    Barrett Firearms’ gender discrimination caused Ms. Taylor and the Putative Class

members damages, including but not limited to compensatory damages, back pay, front pay,

interest, costs, and attorneys’ fees.

        108.    Barrett Firearms’ gender discrimination warrants the implication of punitive

damages; no bona fide occupational qualification justifies Barrett Firearms’ failure to hire

Ms. Taylor and the Putative Class members because of their gender.

        109.    Barrett’s Firearms’ gender discrimination warrants the imposition of injunctive

relief to correct its discriminatory practices.




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                                           COUNT II
                                 Retaliation against Ms. Taylor
                                 EPA, Title VII, and the THRA

       110.    Ms. Taylor incorporates by reference all the prior allegations in this Complaint.

       111.    Ms. Taylor is a member of a protected class under the EPA, namely a woman.

       112.    Ms. Taylor is a member of a protected class under Title VII, namely a woman.

       113.    Ms. Taylor is a member of a protected class under the THRA, namely a woman.

       114.    Ms. Taylor engaged in activities protected by the EPA, including but not limited to

the Protected Activities described in paragraph 2.

       115.    Ms. Taylor engaged in activities protected by Title VII, including but not limited to

the Protected Activities described in paragraph 2.

       116.    Ms. Taylor engaged in activities protected by the THRA, including but not limited

to the Protected Activities described in paragraph 2.

       117.    At all relevant times, Barrett Firearms was aware of Ms. Taylor’s activities

protected by the EPA.

       118.    At all relevant times, Barrett Firearms was aware of Ms. Taylor’s activities

protected by Title VII.

       119.    At all relevant times, Barrett Firearms was aware of Ms. Taylor’s activities

protected by the THRA.

       120.    After learning of Ms. Taylor’s activities protected by the EPA, Barrett Firearms

took actions against Ms. Taylor that would dissuade a reasonable employee from complaining

about gender and pregnancy discrimination and unequal pay, including but not limited to

ostracizing Ms. Taylor, reassigning Ms. Taylor’s job duties to other Barrett Firearms employees,




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terminating Ms. Taylor’s employment; and by belatedly and falsely accusing Ms. Taylor of theft

during an unemployment appeal hearing in April 2022.

        121.   After learning of Ms. Taylor’s activities protected by Title VII, Barrett Firearms

took actions against Ms. Taylor that would dissuade a reasonable employee from complaining

about gender and pregnancy discrimination and unequal pay, including but not limited to

ostracizing Ms. Taylor, reassigning Ms. Taylor’s job duties to other Barrett Firearms employees,

and ultimately terminating Ms. Taylor’s employment.

        122.   After learning of Ms. Taylor’s activities protected by the THRA, Barrett Firearms

took actions against Ms. Taylor that would dissuade a reasonable employee from complaining

about gender and pregnancy discrimination and unequal pay, including but not limited to

ostracizing Ms. Taylor, reassigning Ms. Taylor’s job duties to other Barrett Firearms employees,

and ultimately terminating Ms. Taylor’s employment.

        123.   The actions Barrett Firearms took against Ms. Taylor were because of her activities

protected by the EPA.

        124.   The actions Barrett Firearms took against Ms. Taylor were because of her activities

protected by Title VII.

        125.   The actions Barrett Firearms took against Ms. Taylor were because of her activities

protected by the THRA.

        126.   The actions Barrett Firearms took against Ms. Taylor caused her damages,

including but not limited to back pay, front pay, compensatory damages, attorneys’ fees, costs, and

interest.

                                        JURY DEMAND

        127.   Ms. Taylor demands a jury trial.




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                                     PRAYER FOR RELIEF

        Ms. Taylor prays for the following relief from this Court:

        A.      Permit Ms. Taylor and the Putative Class members to proceed with this litigation

as a class action;

        B.      Appoint Ms. Taylor’s attorneys as the attorneys for the Putative Class;

        C.      Award damages to Ms. Taylor for the gender discrimination she suffered at the

hands of Barrett Firearms;

        D.      Award damages to the Putative Class members for the gender discrimination they

suffered at the hands of Barrett Firearms or by being deterred from applying to work for Barrett

Firearms;

        E.      Award appropriate injunctive relief to the Putative Class to ensure that Barrett

Firearms ceases its discriminatory hiring and recruiting practices;

        F.      Award Ms. Taylor damages for retaliation, including but not limited to back pay,

front pay, and compensatory damages;

        G.      Order Barrett Firearms to pay all costs and expenses of this action;

        H.      Order Barrett Firearms to pay all the attorneys’ fees incurred by Ms. Taylor, the

Putative Applicant Class, and the Putative Deterred Class;

        I.      Order Barrett Firearms to pay pre-judgment and post-judgment interest; and

        J.      Award any other relief the Court deems appropriate.




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  Date: May 10, 2022               Respectfully submitted,

                                   /s/ Charles P. Yezbak, III
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                                   /s/ Melody Fowler-Green
                                   Melody Fowler-Green (TN #023266)
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